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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

WELLS FARGO BANK, N.A. successor by    )
Merger to Wells Fargo Bank Minnesota, N.A.
                                       )
f/k/a Norwest Bank Minnesota, N.A., as )
Trustee for First Franklin Mortgage Loan Trust
                                       )
Series 2004-FFH2 Asset Backed Certificates
                                       )
2004-FFH2,                             )
                                       )
      Plaintiff,                       )
                                       )
vs.                                    )             Civil No. 12-cv-1248-JPG-SCW
                                       )
CHERRITA HENDRICKS a/k/a CHERRITA )
C. HENDRICKS, AMERIFIRST HOME          )
IMPROVEMENT FINANCE CO., TARGET )
NATIONAL BANK, TOWNSHIP OF             )
CASEYVILLE, WORLWIDE ASSET             )
PURCHASING II, LLC Assignee of Bank of )
America, UNITED STATES OF AMERICA, )
UNKNOWN OWNERS, and NON-RECORD )
CLAIMANTS,                             )
                                       )
      Defendants.                       )

                                    MOTION TO DISMISS

       The United States, by Stephen R. Wigginton, United States Attorney for the Southern

District of Illinois and J. Christopher Moore, Assistant United States Attorney for the said

District, respectfully move to dismiss this action against the United States pursuant to Fed R.

Civ. P. Rule 12(b)(6), and states as follows:

       The complaint herein names the United States as a defendant alleges that Plaintiff seeks

to foreclose a “lien in favor of the United States against the land recorded August 23, 2011 as

document AXXXXXXXX, in the amount of $32,102.13”
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       This action is governed by 28 USC § 2410, which provides in pertinent part that: “The

complaint or pleading shall set forth with particularity the nature of the interest or lien of the

United States. In actions or suits involving liens arising under the internal revenue laws, the

complaint or pleading shall include the name and address of the taxpayer whose liability created

the lien and, if a notice of the tax lien was filed, the identity of the internal revenue office which

filed the notice, and the date and place such notice of lien was filed.” (emphasis added).

       The complaint contains no such information and is deficient as a matter of law.

       WHEREFORE, the United States of America respectfully request that it be dismissed as

a party defendant.

       Respectfully submitted this 22nd day of January 2013.

                                                      UNITED STATES OF AMERICA

                                                      STEPHEN R. WIGGINTON
                                                      United States Attorney

                                                      s/ J. Christopher Moore

                                                      J. CHRISTOPHER MOORE
                                                      Assistant United States Attorney
                                                      United States Attorney's Office
                                                      Nine Executive Drive
                                                      Fairview Heights, IL 62208
                                                      Phone: (618) 628-3700
                                                      Fax: (618) 622-3810
                                                      E-mail: Chris.Moore@usdoj.gov
